Case: 1:17-md-02804-DAP Doc #: 5276-4 Filed: 12/15/23 1 of 4. PageID #: 625584




                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                        MDL NO. 2804
OPIATE LITIGATION
                                                 Case No. 17-MD-2804
THIS DOCUMENT RELATES TO:
                                               Judge Dan Aaron Polster
City of Rochester v. Purdue Pharma, L.P.,
No. 19-op-45853 (Track 12)

Lincoln County v. Richard S. Sackler, M.D.,
No. 20-op-45069 (Track 13)

City of Independence, Missouri v. Williams,
No. 19-op-45371 (Track 14)

County of Webb, Texas v. Purdue Pharma,
L.P., No. 18-op-45175 (Track 15)


           DECLARATION OF MATTHEW P. HOOKER IN SUPPORT OF
           OPTUMRX, INC.’S MOTION TO DISQUALIFY MOTLEY RICE
Case: 1:17-md-02804-DAP Doc #: 5276-4 Filed: 12/15/23 2 of 4. PageID #: 625585




                        DECLARATION OF MATTHEW P. HOOKER

        I, Matthew P. Hooker, declare as follows:

        1.      I am over eighteen years old, of sound mind, and under no legal disability.

        2.      I am an associate at Alston & Bird LLP.

        3.      I submit this declaration in support of OptumRx’s Motion to Disqualify Motley

Rice.

        4.      I have personal knowledge of the facts set forth in this declaration, and if called to

testify in person about those facts, could competently do so under oath.

        5.      The following exhibits are true and correct copies of the documents listed below:

        Exhibit A is a copy of the State of Hawaii’s April 29, 2021 Agreement for Special Deputy

        Attorney General Services with Motley Rice LLC and April 29, 2021 Supplemental

        Contract No. 1 with Motely Rice LLC.

        Exhibit B is a copy of the Hawaii Department of the Attorney General’s October 15, 2021

        subpoena to OptumRx.

        Exhibit C is a copy of the May 18, 2022 confidentiality agreement between OptumRx and

        the Hawaii Department of the Attorney General, executed by Linda Singer and Paige

        Boggs of Motley Rice.

        Exhibit D is a copy of OptumRx’s June 8, 2022 production letter to the Hawaii Department

        of the Attorney General, addressed to Linda Singer and Paige Boggs at Motley Rice.

        Exhibit E is a copy of OptumRx’s September 1, 2022 production letter to the Hawaii

        Department of the Attorney General, addressed to Linda Singer and Paige Boggs at Motley

        Rice.




                                                  2
Case: 1:17-md-02804-DAP Doc #: 5276-4 Filed: 12/15/23 3 of 4. PageID #: 625586




      Exhibit F is a copy of the District of Columbia’s December 1, 2020 engagement letter with

      Linda Singer.

      Exhibit G is a copy of the District of Columbia’s Office of the Attorney General’s

      December 28, 2020 investigative subpoena to OptumRx.

      Exhibit H is a copy of the July 1, 2021 confidentiality agreement between OptumRx and

      the District of Columbia’s Office of the Attorney General, executed by Linda Singer and

      Paige Boggs of Motley Rice.

      Exhibit I is a copy of OptumRx’s July 13, 2021 production letter to the District of

      Columbia’s Office of the Attorney General, addressed to Linda Singer and Paige Boggs at

      Motley Rice.

      Exhibit J is a copy of OptumRx’s September 10, 2021 production letter to the District of

      Columbia’s Office of the Attorney General, addressed to Linda Singer and Paige Boggs at

      Motley Rice.

      Exhibit K is a copy of OptumRx’s November 24, 2021 production letter to the District of

      Columbia’s Office of the Attorney General, addressed to Linda Singer and Paige Boggs at

      Motley Rice.

      Exhibit L is a copy of the City of Chicago’s November 8, 2018 investigative subpoena to

      OptumRx.

      Exhibit M is a copy of the February 19, 2019 confidentiality agreement between OptumRx

      and the City of Chicago, executed by Mimi Liu of Motley Rice.

      6.     Exhibit N is a copy of the Expert Report and Opinion of Sari W. Montgomery and

Wendy J. Muchman.




                                              3
Case: 1:17-md-02804-DAP Doc #: 5276-4 Filed: 12/15/23 4 of 4. PageID #: 625587
